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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                                         :
In re                                                    :      Chapter 11
                                                         :
LTL MANAGEMENT LLC,1                                     :      Case No. 21-30589 (JCW)
                                                         :
         Debtor.                                         :
                                                         :
                                                         :
LTL MANAGEMENT LLC,                                      :
                                                         :
         Plaintiff,                                      :
                                                         :
v.                                                       :     Adv. Pro. No. 21-03032 (JCW)
                                                         :
THOSE PARTIES LISTED ON                                  :
APPENDIX A TO COMPLAINT                                  :
and JOHN AND JANE DOES 1-1000,                           :
                                                         :
         Defendants.                                     :
                                                         :

               NOTICE OF FILING AMENDED APPENDIX A TO THE
        DEBTOR’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                 PLEASE TAKE NOTICE OF THE FOLLOWING:

                 1.       On October 21, 2021, LTL Management LLC, the debtor in the

above-captioned chapter 11 case (the “Debtor”) and the plaintiff in the above-captioned

adversary proceeding (the “Adversary Proceeding”), filed the Debtor’s Complaint For

Declaratory and Injunctive Relief (I) Declaring That the Automatic Stay Applies to Certain

Actions Against Non-Debtors or, (II) Preliminarily Enjoining Such Actions and (III) Granting a

Temporary Restraining Order Pending a Final Hearing [Adv. Pro. Dkt. 1] (the “Complaint”)



1
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
         501 George Street, New Brunswick, New Jersey 08933.



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and the Debtor’s Motion For an Order (I) Declaring That the Automatic Stay Applies to Certain

Actions Against Non-Debtors or (II) Preliminarily Enjoining Such Actions and (III) Granting a

Temporary Restraining Order Pending a Final Hearing [Adv. Pro. Dkt. 2] (the “PI Motion”) in

the Adversary Proceeding.

                 2.       Appendix A to the Complaint and the PI Motion identifies the

Defendants,2 with the exception of the John and Jane Doe Defendants, and includes, among other

things, the civil action number (where available) for each lawsuit and the law firms representing

each of the Defendants on account of their talc claims.3

                 3.       Pursuant to the Complaint and the PI Motion, the Debtor reserved the right

to supplement, amend or otherwise modify Appendix A. (Compl. ¶ 2, n. 2; PI Mot, at 1, n. 1).

                 4.       The Debtor hereby files an amended Appendix A, attached hereto as

Exhibit 1, to the Complaint and the PI Motion. Appendix A has been amended to correct certain

items and include subsequently-filed cases as of October 28, 2021.




2
        Capitalized terms not defined herein have the meaning given to them in the Complaint or the PI Motion as
        applicable.
3
        For the avoidance of doubt, the inclusion of a talc-related claim on Appendix A is not an admission that
        such Defendant holds a currently pending claim against either the Debtor or a Protected Party.


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Dated: November 3, 2021                     Respectfully submitted,
       Charlotte, North Carolina
                                            /s/ John R. Miller, Jr.
                                            C. Richard Rayburn, Jr. (NC 6357)
                                            John R. Miller, Jr. (NC 28689)
                                            Matthew L. Tomsic (NC 52431)
                                            RAYBURN COOPER & DURHAM, P.A.
                                            227 West Trade Street, Suite 1200
                                            Charlotte, North Carolina 28202
                                            Telephone: (704) 334-0891
                                            Facsimile: (704) 377-1897
                                            E-mail: rrayburn@rcdlaw.net
                                                      jmiller@rcdlaw.net
                                                      mtomsic@rcdlaw.net

                                            Gregory M. Gordon (TX Bar No. 08435300)
                                            Dan B. Prieto (TX Bar No. 24048744)
                                            Amanda Rush (TX Bar No. 24079422)
                                            JONES DAY
                                            2727 N. Harwood Street
                                            Dallas, Texas 75201
                                            Telephone: (214) 220-3939
                                            Facsimile: (214) 969-5100
                                            E-mail: gmgordon@jonesday.com
                                                    dbprieto@jonesday.com
                                                    asrush@jonesday.com
                                            (Admitted pro hac vice)

                                            Brad B. Erens (IL Bar No. 06206864)
                                            JONES DAY
                                            77 West Wacker
                                            Chicago, Illinois 60601
                                            Telephone: (312) 782-3939
                                            Facsimile: (312) 782-8585
                                            E-mail: bberens@jonesday.com
                                            (Admitted pro hac vice)

                                            PROPOSED ATTORNEYS FOR DEBTOR




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                                   EXHIBIT 1

                              Amended Appendix A




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                                                                                             Appendix A
                                                                                List of Defendants and Their Counsel
* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                 State Filed                 Docket Number                      Plaintiff Counsel
CLAYTON, SILVIA                                         CA - Superior Court - Los Angeles County           BC705654          AHDOOT & WOLFSON, PC
CREDLE, DEBORAH                                         DC - USDC for the District of Columbia             1:21-cv-02745     ASHCRAFT & GEREL
DAVIE, LAURIE                                           DE - USDC for the District of Delaware             1:21-cv-02747     ASHCRAFT & GEREL
DYER, PAMELA                                            DC - USDC for the District of Columbia             1:21-cv-02717     ASHCRAFT & GEREL
FELTNER, JOAN                                           DC - USDC for the District of Columbia             1:21-cv-02755     ASHCRAFT & GEREL
FLORES, ROSALIE                                         DC - Superior Court - District of Columbia         1:21-cv-02756     ASHCRAFT & GEREL
FUZESSY, SHARON                                         NJ - USDC for the District of New Jersey           3:21-cv-18719     ASHCRAFT & GEREL
GABRIEL, DEBRA                                          DC - USDC for the District of Columbia             1:21-cv-02753     ASHCRAFT & GEREL
GREEN, CONNIE                                           DC - USDC for the District of Columbia             1:21-cv-02722     ASHCRAFT & GEREL
HAISLIP, JANIE                                          DC - USDC for the District of Columbia             1:21-cv-02757     ASHCRAFT & GEREL
HOLLAND, CLAUDIA                                        DC - USDC for the District of Columbia             1:21-cv-02754     ASHCRAFT & GEREL
HUMAGAIN, ALISHA                                        DC - USDC for the District of Columbia             1:21-cv-02758     ASHCRAFT & GEREL
KOVACEVICH, BARBARA                                     DC - USDC for the District of Columbia             1:21-cv-02724     ASHCRAFT & GEREL
LANDI, LUCY                                             DC - USDC for the District of Columbia             1:21-cv-02733     ASHCRAFT & GEREL
MCDONALD, ANGELIA                                       DC - USDC for the District of Columbia             1:21-cv-02735     ASHCRAFT & GEREL
MCNUTT, SUSAN                                           DC - USDC for the District of Columbia             1:21-cv-02736     ASHCRAFT & GEREL
MILLER, LOIS                                            DC - USDC for the District of Columbia             1:21-cv-02759     ASHCRAFT & GEREL
PERRONE, MICHELE                                        DC - USDC for the District of Columbia             1:21-cv-02737     ASHCRAFT & GEREL
ROBERTS, AMANDA                                         DC - USDC for the District of Columbia             1:21-cv-02750     ASHCRAFT & GEREL
STOKMAN, LINDA                                          DC - USDC for the District of Columbia             1:21-cv-02751     ASHCRAFT & GEREL
TONEY, THERESA                                          DC - USDC for the District of Columbia             1:21-cv-02741     ASHCRAFT & GEREL
WAPNIAK, JEANINE                                        NJ - USDC for the District of New Jersey           3:21-cv-18037     ASHCRAFT & GEREL
WEINER, MARY                                            DC - USDC for the District of Columbia             1:21-cv-02752     ASHCRAFT & GEREL
BLANKENSHIP, FRANCES                                    DC - USDC for the District of Columbia             1:21-cv-02663     ASHCRAFT & GEREL, LLP
CHROWL, DEBORAH                                         DC - USDC for the District of Columbia             1:21-cv-02744     ASHCRAFT & GEREL, LLP
CITRON, ROBIN                                           DC - USDC for the District of Columbia             1:21-cv-02664     ASHCRAFT & GEREL, LLP
COUILLARD, RUTH                                         DC - USDC for the District of Columbia             1:21-cv-02665     ASHCRAFT & GEREL, LLP
DACUS, PATRICIA                                         DC - USDC for the District of Columbia             1:21-cv-02746     ASHCRAFT & GEREL, LLP
DADLES, VICKI                                           DC - USDC for the District of Columbia             1:21-cv-02666     ASHCRAFT & GEREL, LLP
D'APRILE, LOIS                                          DC - USDC for the District of Columbia             1:21-cv-02667     ASHCRAFT & GEREL, LLP
DAVIS, JUDITH                                           DC - USDC for the District of Columbia             1:21-cv-02694     ASHCRAFT & GEREL, LLP
DEANS, CYNTHIA                                          DC - USDC for the District of Columbia             1:21-cv-02695     ASHCRAFT & GEREL, LLP
DEANS, TARKEISHA                                        DC - USDC for the District of Columbia             1:21-cv-02696     ASHCRAFT & GEREL, LLP
DEBERRY, COY                                            DC - USDC for the District of Columbia             1:21-cv-02697     ASHCRAFT & GEREL, LLP
DECAMP, JAYNE                                           DC - USDC for the District of Columbia             1:21-cv-02699     ASHCRAFT & GEREL, LLP
DENUCCI, APRIL                                          DC - USDC for the District of Columbia             1:21-cv-02707     ASHCRAFT & GEREL, LLP
DERANGE, PATRICIA                                       DC - USDC for the District of Columbia             1:21-cv-02708     ASHCRAFT & GEREL, LLP
DEVRIES, CINTHIA                                        DC - USDC for the District of Columbia             1:21-cv-02710     ASHCRAFT & GEREL, LLP
DOBBINS, WIMONT                                         DC - USDC for the District of Columbia             1:21-cv-02711     ASHCRAFT & GEREL, LLP
DONAHUE, KAREN                                          DC - USDC for the District of Columbia             1:21-cv-02712     ASHCRAFT & GEREL, LLP
DUBE, WENDY                                             DC - USDC for the District of Columbia             1:21-cv-02713     ASHCRAFT & GEREL, LLP
DUCHAINE, DEBRA                                         DC - USDC for the District of Columbia             1:21-cv-02714     ASHCRAFT & GEREL, LLP
DUKES, NORMA                                            DC - USDC for the District of Columbia             1:21-cv-02715     ASHCRAFT & GEREL, LLP
ELSIFOR, KIMBERLY                                       DC - USDC for the District of Columbia             1:21-cv-02718     ASHCRAFT & GEREL, LLP
ERBER, JONNA                                            NJ - USDC for the District of New Jersey           1:21-cv-02719     ASHCRAFT & GEREL, LLP
GAFFNEY, MYRNA                                          DC - USDC for the District of Columbia             1:21-cv-02720     ASHCRAFT & GEREL, LLP
GARNER, PAULA                                           DC - USDC for the District of Columbia             1:21-cv-02721     ASHCRAFT & GEREL, LLP
GUARINO-RIVERA, VICTORIA                                DC - USDC for the District of Columbia             1:21-cv-02723     ASHCRAFT & GEREL, LLP
LEATHERS, ANITA                                         DC - USDC for the District of Columbia             1:21-cv-02742     ASHCRAFT & GEREL, LLP
LEDBETTER, JEANNETTE                                    DC - USDC for the District of Columbia             1:21-cv-02748     ASHCRAFT & GEREL, LLP
LEWIS, TERRI                                            DC - USDC for the District of Columbia             1:21-cv-02734     ASHCRAFT & GEREL, LLP
PARKER, LORA                                            DC - USDC for the District of Columbia             1:21-cv-02749     ASHCRAFT & GEREL, LLP
RHODES, ESTHER                                          DC - USDC for the District of Columbia             1:21-cv-02738     ASHCRAFT & GEREL, LLP
ROSECRANS, RENEE                                        DC - USDC for the District of Columbia             1:21-cv-02739     ASHCRAFT & GEREL, LLP
SHULL, DONNA                                            DC - USDC for the District of Columbia             1:21-cv-02740     ASHCRAFT & GEREL, LLP
STEINBERG, ELENN                                        NJ - USDC for the District of New Jersey           3:21-cv-18039     ASHCRAFT & GEREL, LLP
VAN LIEW, WANDA                                         DC - USDC for the District of Columbia             1:21-cv-02760     ASHCRAFT & GEREL, LLP
BOWMAN, BRENDA                                          NJ - USDC for the District of New Jersey           3:21-cv-17739     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC
BROWN, CONNIE                                           NJ - USDC for the District of New Jersey           3:21-cv-17575     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC
LEMIEUX, PATRICIA                                       NJ - USDC for the District of New Jersey           3:21-cv-17667     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC
MANNING, MONIKA                                         NJ - USDC for the District of New Jersey           3:21-cv-17574     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC
RICHARDSON, BETTY                                       NJ - USDC for the District of New Jersey           3:21-cv-17573     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC
SMILEY, KRIS                                            NJ - USDC for the District of New Jersey           3:21-cv-17664     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC
YOUNG, BRENDA                                           NJ - USDC for the District of New Jersey           3:21-cv-17572     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC
BLANKENSHIP, FRANCES                                    DC - USDC for the District of Columbia             1:21-cv-02663     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
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                   Claimant Name                                                 State Filed                          Docket Number                      Plaintiff Counsel
CHROWL, DEBORAH                                         DC - USDC for the District of Columbia                      1:21-cv-02744     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
CITRON, ROBIN                                           DC - USDC for the District of Columbia                      1:21-cv-02664     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
COUILLARD, RUTH                                         DC - USDC for the District of Columbia                      1:21-cv-02665     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
CREDLE, DEBORAH                                         DC - USDC for the District of Columbia                      1:21-cv-02745     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DACUS, PATRICIA                                         DC - USDC for the District of Columbia                      1:21-cv-02746     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DADLES, VICKI                                           DC - USDC for the District of Columbia                      1:21-cv-02666     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
D'APRILE, LOIS                                          DC - USDC for the District of Columbia                      1:21-cv-02667     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DAVIE, LAURIE                                           DE - USDC for the District of Delaware                      1:21-cv-02747     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DAVIS, JUDITH                                           DC - USDC for the District of Columbia                      1:21-cv-02694     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DEANS, CYNTHIA                                          DC - USDC for the District of Columbia                      1:21-cv-02695     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DEANS, TARKEISHA                                        DC - USDC for the District of Columbia                      1:21-cv-02696     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DEBERRY, COY                                            DC - USDC for the District of Columbia                      1:21-cv-02697     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DECAMP, JAYNE                                           DC - USDC for the District of Columbia                      1:21-cv-02699     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DEGANO, SUSAN                                           DC - USDC for the District of Columbia                      1:21-cv-02706     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DENUCCI, APRIL                                          DC - USDC for the District of Columbia                      1:21-cv-02707     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DERANGE, PATRICIA                                       DC - USDC for the District of Columbia                      1:21-cv-02708     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DEVRIES, CINTHIA                                        DC - USDC for the District of Columbia                      1:21-cv-02710     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DOBBINS, WIMONT                                         DC - USDC for the District of Columbia                      1:21-cv-02711     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DONAHUE, KAREN                                          DC - USDC for the District of Columbia                      1:21-cv-02712     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DUBE, WENDY                                             DC - USDC for the District of Columbia                      1:21-cv-02713     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DUCHAINE, DEBRA                                         DC - USDC for the District of Columbia                      1:21-cv-02714     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DUKES, NORMA                                            DC - USDC for the District of Columbia                      1:21-cv-02715     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
DYER, PAMELA                                            DC - USDC for the District of Columbia                      1:21-cv-02717     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
ELSIFOR, KIMBERLY                                       DC - USDC for the District of Columbia                      1:21-cv-02718     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
ERBER, JONNA                                            NJ - USDC for the District of New Jersey                    1:21-cv-02719     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
FELTNER, JOAN                                           DC - USDC for the District of Columbia                      1:21-cv-02755     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
FLORES, ROSALIE                                         DC - Superior Court - District of Columbia                  1:21-cv-02756     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
GABRIEL, DEBRA                                          DC - USDC for the District of Columbia                      1:21-cv-02753     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
GAFFNEY, MYRNA                                          DC - USDC for the District of Columbia                      1:21-cv-02720     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
GARNER, PAULA                                           DC - USDC for the District of Columbia                      1:21-cv-02721     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
GREEN, CONNIE                                           DC - USDC for the District of Columbia                      1:21-cv-02722     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
GUARINO-RIVERA, VICTORIA                                DC - USDC for the District of Columbia                      1:21-cv-02723     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
HAISLIP, JANIE                                          DC - USDC for the District of Columbia                      1:21-cv-02757     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
HOLLAND, CLAUDIA                                        DC - USDC for the District of Columbia                      1:21-cv-02754     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
HUMAGAIN, ALISHA                                        DC - USDC for the District of Columbia                      1:21-cv-02758     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
KOVACEVICH, BARBARA                                     DC - USDC for the District of Columbia                      1:21-cv-02724     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
LANDI, LUCY                                             DC - USDC for the District of Columbia                      1:21-cv-02733     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
LEATHERS, ANITA                                         DC - USDC for the District of Columbia                      1:21-cv-02742     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
LEDBETTER, JEANNETTE                                    DC - USDC for the District of Columbia                      1:21-cv-02748     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
LEWIS, TERRI                                            DC - USDC for the District of Columbia                      1:21-cv-02734     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
MCDONALD, ANGELIA                                       DC - USDC for the District of Columbia                      1:21-cv-02735     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
MCNUTT, SUSAN                                           DC - USDC for the District of Columbia                      1:21-cv-02736     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
MILLER, LOIS                                            DC - USDC for the District of Columbia                      1:21-cv-02759     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
PARKER, LORA                                            DC - USDC for the District of Columbia                      1:21-cv-02749     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
PERRONE, MICHELE                                        DC - USDC for the District of Columbia                      1:21-cv-02737     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
RHODES, ESTHER                                          DC - USDC for the District of Columbia                      1:21-cv-02738     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
ROBERTS, AMANDA                                         DC - USDC for the District of Columbia                      1:21-cv-02750     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
ROSECRANS, RENEE                                        DC - USDC for the District of Columbia                      1:21-cv-02739     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
SHULL, DONNA                                            DC - USDC for the District of Columbia                      1:21-cv-02740     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
STOKMAN, LINDA                                          DC - USDC for the District of Columbia                      1:21-cv-02751     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
TONEY, THERESA                                          DC - USDC for the District of Columbia                      1:21-cv-02741     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
VAN LIEW, WANDA                                         DC - USDC for the District of Columbia                      1:21-cv-02760     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
WEINER, MARY                                            DC - USDC for the District of Columbia                      1:21-cv-02752     BEASLEY, ALLEN, CROW, METHVIN, PORTIS
SMITH, KAREN                                            NJ - USDC for the District of New Jersey                    3:21-cv-18991     BLASINGAME, BURCH, GARRARD & ASHLEY, PC
JARAMILLO, JOANNE                                       NJ - USDC for the District of New Jersey                    3:21-cv-19013     BRANCH LAW FIRM
SHELTON, DEANNA                                         NJ - USDC for the District of New Jersey                    3:21-cv-18461     BROWN, READDICK, BUMGARTNER, CARTER, STRICKLAND
CHEESE, ESTATE OF LISA A                                NJ - USDC for the District of New Jersey                    3:18-cv-01125     CALCAGNO & ASSOCIATES, LLP
ELKHOLY-ZEILER, MAGDA                                   NJ - Atlanta County Superior Court                          ATL-L002539-19    CALCAGNO & ASSOCIATES, LLP
CANCEL AYALA, NORMA                                     NJ - USDC for the District of New Jersey                    3:20-cv-20402     CARAZO QUETGLAS LAW OFFICES
CRUZ-GUZMAN, CARMEN                                     NJ - USDC for the District of New Jersey                    3:20-cv-20385     CARAZO QUETGLAS LAW OFFICES
DIVIDUO, ZULMA                                          NJ - USDC for the District of New Jersey                    3:2020-cv-20391   CARAZO QUETGLAS LAW OFFICES
FLORES, HELEN                                           NJ - USDC for the District of New Jersey                    3:2020-cv-20397   CARAZO QUETGLAS LAW OFFICES
HERNANDEZ, DORIS                                        NJ - USDC for the District of New Jersey                    3:2020-cv-20379   CARAZO QUETGLAS LAW OFFICES
HERNANDEZ, JUANITA                                      NJ - USDC for the District of New Jersey                    3:2020-cv-20394   CARAZO QUETGLAS LAW OFFICES
MALDONADO, GLORIA                                       NJ - USDC for the District of New Jersey                    3:2020-cv-20397   CARAZO QUETGLAS LAW OFFICES
OJEDA BAELLO, SANDRA                                    NJ - USDC for the District of New Jersey                    3:20-cv-20400     CARAZO QUETGLAS LAW OFFICES
RAMIREZ, ANA                                            NJ - USDC for the District of New Jersey                    3:2020-cv-20383   CARAZO QUETGLAS LAW OFFICES




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* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                  State Filed                       Docket Number                        Plaintiff Counsel
RAMOS, ARISEL                                           NJ - USDC for the District of New Jersey                  3:2020-cv-20362   CARAZO QUETGLAS LAW OFFICES
RAMOS-MORENO, PURA                                      NJ - USDC for the District of New Jersey                  3:20-cv-20375     CARAZO QUETGLAS LAW OFFICES
RODRIGUEZ, HAYDEE                                       NJ - USDC for the District of New Jersey                  3:2020-cv-20374   CARAZO QUETGLAS LAW OFFICES
VAZQUEZ-GARCIA, LUZ                                     NJ - USDC for the District of New Jersey                  3:20-cv-20388     CARAZO QUETGLAS LAW OFFICES
BUNKER, MICHELLE                                        NJ - USDC for the District of New Jersey                  3:21-cv-18527     CHILDERS, SCHLUETER & SMITH, LLC
CURTIS, APRIL                                           NJ - USDC for the District of New Jersey                  3:21-cv-18542     CHILDERS, SCHLUETER & SMITH, LLC
BAUMAN, NATALIE                                         NJ - Superior Court - Atlantic County                     ATL-L-003387-21   COHEN, PLACITELLA & ROTH
ARREOLA, PILAR                                          IL - Circuit Court - Cook County                          21-L-7632         COONEY AND CONWAY
ANDERSON, SHIRLEY                                       NJ - USDC for the District of New Jersey                  3:21-cv-18971     CORY, WATSON, CROWDER & DEGARIS, P.C.
BERGMAN, MELINDA                                        NJ - USDC for the District of New Jersey                  3:21-cv-18968     CORY, WATSON, CROWDER & DEGARIS, P.C.
ROBERTS, ODUSCO                                         NJ - USDC for the District of New Jersey                  3:21-cv-17898     DALIMONTE RUEB, LLP
PALUZZI, JANICE                                         MA - Superior Court - Middlesex County                    21-2109           EARLY LUCARELLI SWEENEY & MEISENKOTHEN
CLEVELAND, CONNIE                                       NJ - Superior Court - Atlantic County                     ATL-L-003276-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
DAUGHERTY, ROBBIE                                       NJ - Superior Court - Atlantic County                     ATL-L-003297-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
GRAHAM, CAROLINE                                        NJ - Superior Court - Atlantic County                     ATL-L-003296-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
MCGILL, JOHNNIE                                         NJ - Superior Court - Atlantic County                     ATL-L-003277-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
ROSENBERGER, GLORIA                                     NJ - Superior Court - Atlantic County                     ATL-L-003330-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
SHEALEY, LARRECIA                                       NJ - Superior Court - Atlantic County                     ATL-L-003386-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
STALEY, AMY                                             NJ - Superior Court - Atlantic County                     ATL-L-003385-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
YESCAS, PENNY                                           NJ - Superior Court - Atlantic County                     ATL-L-003393-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
ZECCHINI, MARY                                          NJ - Superior Court - Atlantic County                     ATL-L-003391-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
ZIMMERMAN, SANDRA                                       NJ - Superior Court - Atlantic County                     ATL-L-003331-21   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP
GOSS, CARRIE                                            NJ - USDC for the District of New Jersey                  3:21-cv-18466     FEARS NACHAWATI LAW FIRM
KENT, WILLIAMS                                          MO - Circuit Court - City of St. Louis                    2122-CC09485      FEARS NACHAWATI, PLLC
DOVE, MARGIE                                            NJ - Superior Court - Atlantic County                     ATL-L-003324-21   GOLOMB & HONIK, P.C.
ECKEL, JANICE                                           NJ - Superior Court - Atlantic County                     ATL-L-003320-21   GOLOMB & HONIK, P.C.
GILES, SUSAN                                            NJ - Superior Court - Atlantic County                     ATL-L-003323-21   GOLOMB & HONIK, P.C.
KRAKOWSKI, AUDREY                                       NJ - Superior Court - Atlantic County                     ATL-L-003322-21   GOLOMB & HONIK, P.C.
HERRO, GAYLYN                                           NJ - USDC for the District of New Jersey                  3:21-cv-17819     HENINGER GARRISON DAVIS, LLC
POWELL, LINDA                                           NJ - USDC for the District of New Jersey                  3:21-cv-17853     HENINGER GARRISON DAVIS, LLC
ABRAHAM, JANE                                           NJ - USDC for the District of New Jersey                  3:21-cv-18449     JOHNSON LAW GROUP
BEESO, RAVEN                                            NJ - USDC for the District of New Jersey                  3:21-cv-18607     JOHNSON LAW GROUP
COLTON, LORI                                            NJ - USDC for the District of New Jersey                  3:21-cv-18976     JOHNSON LAW GROUP
DONNER, MARIE                                           NJ - USDC for the District of New Jersey                  3:21-cv-18769     JOHNSON LAW GROUP
DOYLE, MARSHA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18485     JOHNSON LAW GROUP
ERICKSEN, DONITA                                        NJ - USDC for the District of New Jersey                  3:21-cv-18443     JOHNSON LAW GROUP
FINN, TERRESA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18524     JOHNSON LAW GROUP
FRAILEY, FONG-LING                                      NJ - USDC for the District of New Jersey                  3:21-cv-18707     JOHNSON LAW GROUP
GAWNE, DONNA                                            NJ - USDC for the District of New Jersey                  3:21-cv-18610     JOHNSON LAW GROUP
GOUDY, RUBY                                             NJ - USDC for the District of New Jersey                  3:21-cv-18972     JOHNSON LAW GROUP
GRAY, LOIS                                              NJ - USDC for the District of New Jersey                  3:21-cv-18730     JOHNSON LAW GROUP
GRONEK, ROBYN                                           NJ - USDC for the District of New Jersey                  3:21-cv-18587     JOHNSON LAW GROUP
HENDRICKSON, DEBORAH                                    NJ - USDC for the District of New Jersey                  3:21-cv-18701     JOHNSON LAW GROUP
HITCHCOCK, PENNIE                                       NJ - USDC for the District of New Jersey                  3:21-cv-18445     JOHNSON LAW GROUP
JOHNSON, TERESA                                         NJ - USDC for the District of New Jersey                  3:21-cv-18723     JOHNSON LAW GROUP
JONAS, BARBARA                                          NJ - USDC for the District of New Jersey                  3:21-cv-18531     JOHNSON LAW GROUP
KOWASIC, TRACY                                          NJ - USDC for the District of New Jersey                  3:21-cv-18596     JOHNSON LAW GROUP
KRNJAIC, NADA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18437     JOHNSON LAW GROUP
LOVE, CLAIRE                                            NJ - USDC for the District of New Jersey                  3:21-cv-18974     JOHNSON LAW GROUP
MATTHEWS, TAMMY                                         NJ - USDC for the District of New Jersey                  3:21-cv-18578     JOHNSON LAW GROUP
MCCARTHY, BARBARA                                       NJ - USDC for the District of New Jersey                  3:21-cv-18962     JOHNSON LAW GROUP
MOORE, DARLENE                                          NJ - USDC for the District of New Jersey                  3:21-cv-18716     JOHNSON LAW GROUP
MOTT, LINDA                                             NJ - USDC for the District of New Jersey                  3:21-cv-18428     JOHNSON LAW GROUP
PALUZZI, LORRAINE                                       NJ - USDC for the District of New Jersey                  3:21-cv-18520     JOHNSON LAW GROUP
PIZANO, IRMA                                            NJ - USDC for the District of New Jersey                  3:21-cv-18603     JOHNSON LAW GROUP
SAN JUAN, ELISABETH                                     NJ - USDC for the District of New Jersey                  3:21-cv-18417     JOHNSON LAW GROUP
TYSON, JANICE                                           NJ - USDC for the District of New Jersey                  3:21-cv-18490     JOHNSON LAW GROUP
ULSTAD, TERESA                                          NJ - USDC for the District of New Jersey                  3:21-cv-18988     JOHNSON LAW GROUP
WALSH, ELENA                                            NJ - USDC for the District of New Jersey                  3:21-cv-18529     JOHNSON LAW GROUP
WIGERSMA, ANGELIQUE                                     NJ - USDC for the District of New Jersey                  3:21-cv-18692     JOHNSON LAW GROUP
YARBROUGH, SUSAN                                        NJ - USDC for the District of New Jersey                  3:21-cv-18522     JOHNSON LAW GROUP
ZUNIGA, ROSA                                            NJ - USDC for the District of New Jersey                  3:21-cv-18978     JOHNSON LAW GROUP
MARSHALL, SANDRA                                        NJ - USDC for the District of New Jersey                  3:21-cv-18639     KIESEL LAW, LLP
KIRKLAND, ERNESTINE                                     NJ - USDC for the District of New Jersey                  3:21-cv-15230     LENZE KAMERRER MOSS, PLC
BAROCAS, JANICE                                         NJ - USDC for the District of New Jersey                  3:21-cv-15373     LENZE LAWYERS, PLC
BENITEZ, MARIA                                          NJ - USDC for the District of New Jersey                  3:21-cv-15774     LENZE LAWYERS, PLC
BERGER, MARILYN                                         NJ - USDC for the District of New Jersey                  3:21-cv-15799     LENZE LAWYERS, PLC




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* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                 State Filed                        Docket Number                        Plaintiff Counsel
BERRETH, GAYLE                                          NJ - USDC for the District of New Jersey                  3:21-cv-15239     LENZE LAWYERS, PLC
BERRY, LUCILE                                           NJ - USDC for the District of New Jersey                  3:21-cv-15755     LENZE LAWYERS, PLC
BLACKBURN, TRACY                                        NJ - USDC for the District of New Jersey                  3:21-cv-15535     LENZE LAWYERS, PLC
BONHEYO, LORI                                           NJ - USDC for the District of New Jersey                  3:21-cv-15745     LENZE LAWYERS, PLC
BOWLING, LISA                                           NJ - USDC for the District of New Jersey                  3:21-cv-15714     LENZE LAWYERS, PLC
BRAZEALE, JACKIE                                        NJ - USDC for the District of New Jersey                  3:21-cv-15254     LENZE LAWYERS, PLC
BURNS, SHELLY                                           NJ - USDC for the District of New Jersey                  3:21-cv-15505     LENZE LAWYERS, PLC
CASTILLO, SINDA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15530     LENZE LAWYERS, PLC
CRUZ, SUSAN                                             NJ - USDC for the District of New Jersey                  3:21-cv-15531     LENZE LAWYERS, PLC
DAVIS, SHIRLENE                                         NJ - USDC for the District of New Jersey                  3:21-cv-15510     LENZE LAWYERS, PLC
DESERSA, DOVALIEN                                       NJ - USDC for the District of New Jersey                  3:21-cv-15193     LENZE LAWYERS, PLC
DUGGER, KATHERINE                                       NJ - USDC for the District of New Jersey                  3:21-cv-15561     LENZE LAWYERS, PLC
EVERY, RUBY                                             NJ - USDC for the District of New Jersey                  3:21-cv-15490     LENZE LAWYERS, PLC
FAGAN, KATHRYN                                          NJ - USDC for the District of New Jersey                  3:21-cv-15586     LENZE LAWYERS, PLC
FANCHER, DORIS                                          NJ - USDC for the District of New Jersey                  3:21-cv-15192     LENZE LAWYERS, PLC
FLORES, THERESA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15533     LENZE LAWYERS, PLC
FRICK, KAREN                                            NJ - USDC for the District of New Jersey                  3:21-cv-15420     LENZE LAWYERS, PLC
GARRETT, PATRICIA                                       NJ - USDC for the District of New Jersey                  3:21-cv-15461     LENZE LAWYERS, PLC
GIBBONS, IRMA                                           NJ - USDC for the District of New Jersey                  3:21-cv-15251     LENZE LAWYERS, PLC
HALL, LINDA                                             NJ - USDC for the District of New Jersey                  3:21-cv-15431     LENZE LAWYERS, PLC
HARPER, JEWELL                                          NJ - USDC for the District of New Jersey                  3:21-cv-15396     LENZE LAWYERS, PLC
HARRIS, PAULETTE                                        NJ - USDC for the District of New Jersey                  3:21-cv-15485     LENZE LAWYERS, PLC
HAYS, KATHLEEN                                          NJ - USDC for the District of New Jersey                  3:21-cv-15577     LENZE LAWYERS, PLC
HESTER, KATHERYN                                        NJ - USDC for the District of New Jersey                  3:21-cv-15571     LENZE LAWYERS, PLC
HEYWARD, THELMA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15532     LENZE LAWYERS, PLC
HIGGS, JUNE                                             NJ - USDC for the District of New Jersey                  3:21-cv-15417     LENZE LAWYERS, PLC
HUGHES, SHEFFEY                                         NJ - USDC for the District of New Jersey                  3:21-cv-15500     LENZE LAWYERS, PLC
JOHNSON, SHIRLEY                                        NJ - USDC for the District of New Jersey                  3:21-cv-15525     LENZE LAWYERS, PLC
MADISON, WILLIET                                        NJ - USDC for the District of New Jersey                  3:21-cv-15537     LENZE LAWYERS, PLC
MASTERS, PATRICIA                                       NJ - USDC for the District of New Jersey                  3:21-cv-15478     LENZE LAWYERS, PLC
METZ, TIFFANY                                           NJ - USDC for the District of New Jersey                  3:21-cv-15534     LENZE LAWYERS, PLC
MILLS, CAROLYN                                          NJ - USDC for the District of New Jersey                  3:21-cv-15166     LENZE LAWYERS, PLC
NETHERLAND, LINDA                                       NJ - USDC for the District of New Jersey                  3:21-cv-15432     LENZE LAWYERS, PLC
OROPEZA, MARTHA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15807     LENZE LAWYERS, PLC
OXENDINE, KATHERINE                                     NJ - USDC for the District of New Jersey                  3:21-cv-15565     LENZE LAWYERS, PLC
POOL, MELISSA                                           NJ - USDC for the District of New Jersey                  3:212-cv-15819    LENZE LAWYERS, PLC
REUTER, DEBRA                                           NJ - USDC for the District of New Jersey                  3:21-cv-15187     LENZE LAWYERS, PLC
RICHARDSON, LISA                                        NJ - USDC for the District of New Jersey                  3:21-cv-15456     LENZE LAWYERS, PLC
RIVERA, OLGA                                            NJ - USDC for the District of New Jersey                  3:21-cv-15464     LENZE LAWYERS, PLC
ROBERTS, NANCY                                          NJ - USDC for the District of New Jersey                  3:21-cv-15831     LENZE LAWYERS, PLC
ROBINSON, NAN                                           NJ - USDC for the District of New Jersey                  3:21-cv-15829     LENZE LAWYERS, PLC
ROBINSON, SHERI                                         NJ - USDC for the District of New Jersey                  3:21-cv-16075     LENZE LAWYERS, PLC
ROGERS, LORETTA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15453     LENZE LAWYERS, PLC
SALAZAR, MONICA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15824     LENZE LAWYERS, PLC
SANCHEZ, MONICA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15826     LENZE LAWYERS, PLC
SCARLETT, LILLIE                                        NJ - USDC for the District of New Jersey                  3:2-cv-15669      LENZE LAWYERS, PLC
SCHUETZ, LINDA                                          NJ - USDC for the District of New Jersey                  3:21-cv-15704     LENZE LAWYERS, PLC
SCHWARTZ, LINDA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15705     LENZE LAWYERS, PLC
SHANKWEILER, KATHRYN                                    NJ - USDC for the District of New Jersey                  3:21-cv-15426     LENZE LAWYERS, PLC
SIMPSON, LINDA                                          NJ - USDC for the District of New Jersey                  3:21-cv-15709     LENZE LAWYERS, PLC
SIMS, ORALEAN                                           NJ - USDC for the District of New Jersey                  3:21-cv-15473     LENZE LAWYERS, PLC
SOTO, MARIA                                             NJ - USDC for the District of New Jersey                  3:21-cv-15796     LENZE LAWYERS, PLC
SPARKMAN, STACEY                                        NJ - USDC for the District of New Jersey                  3:21-cv-15527     LENZE LAWYERS, PLC
STRATTON, NANCY                                         NJ - USDC for the District of New Jersey                  3:21-cv-15833     LENZE LAWYERS, PLC
STROH, NORMA                                            NJ - USDC for the District of New Jersey                  3:21-cv-15865     LENZE LAWYERS, PLC
SUIRE, ROXANE                                           NJ - USDC for the District of New Jersey                  3:21-cv-15990     LENZE LAWYERS, PLC
SUMPTER, LOLITA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15730     LENZE LAWYERS, PLC
SUTTLE, LAURA                                           NJ - USDC for the District of New Jersey                  3:21-cv-15657     LENZE LAWYERS, PLC
TALAMANTES, PATRICIA                                    NJ - USDC for the District of New Jersey                  3:21-cv-15891     LENZE LAWYERS, PLC
TAUTEROUFF, MARY                                        NJ - USDC for the District of New Jersey                  3:21-cv-15434     LENZE LAWYERS, PLC
TAYLOR, LORENNA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15734     LENZE LAWYERS, PLC
THOMAS-LEWIS, SHEILA                                    NJ - USDC for the District of New Jersey                  3:21-cv-16034     LENZE LAWYERS, PLC
TROTTER, SHERRY                                         NJ - USDC for the District of New Jersey                  3:21-cv-16086     LENZE LAWYERS, PLC
UNDERWOOD, MARSHA                                       NJ - USDC for the District of New Jersey                  3:21-cv-15809     LENZE LAWYERS, PLC
UTTERBACK, PAMELA                                       NJ - USDC for the District of New Jersey                  3:21-cv-15875     LENZE LAWYERS, PLC
VANDERPOOL, PATRICIA                                    NJ - USDC for the District of New Jersey                  3:21-cv-15904     LENZE LAWYERS, PLC
VIEHMEYER, CHERYL                                       NJ - USDC for the District of New Jersey                  3:21-cv-15172     LENZE LAWYERS, PLC




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                   Claimant Name                                                 State Filed                        Docket Number                        Plaintiff Counsel
VUKELICH, MARIA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15791     LENZE LAWYERS, PLC
WANG, LISA                                              NJ - USDC for the District of New Jersey                  3:21-cv-15721     LENZE LAWYERS, PLC
WARREN, CAROL                                           NJ - USDC for the District of New Jersey                  3:21-cv-15164     LENZE LAWYERS, PLC
WARREN, TREVA                                           NJ - USDC for the District of New Jersey                  3:21-cv-15558     LENZE LAWYERS, PLC
WATKINS, NANCY                                          NJ - USDC for the District of New Jersey                  3:21-cv-15457     LENZE LAWYERS, PLC
WESTBERG, LINDA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15435     LENZE LAWYERS, PLC
WHEELER, JUDY                                           NJ - USDC for the District of New Jersey                  3:21-cv-15403     LENZE LAWYERS, PLC
WHITE, MARY                                             NJ - USDC for the District of New Jersey                  3:21-cv-15814     LENZE LAWYERS, PLC
WHITE-HENDERSON, TRENICA                                NJ - USDC for the District of New Jersey                  3:21-cv-15536     LENZE LAWYERS, PLC
WICKSTROM, SHERRY                                       NJ - USDC for the District of New Jersey                  3:21-cv-16089     LENZE LAWYERS, PLC
WILLIAMS, KENDRA                                        NJ - USDC for the District of New Jersey                  3:21-cv-15621     LENZE LAWYERS, PLC
WILLIAMS, MARILYN                                       NJ - USDC for the District of New Jersey                  3:21-cv-15802     LENZE LAWYERS, PLC
WILLIAMS, MARY                                          NJ - USDC for the District of New Jersey                  3:21-cv-15433     LENZE LAWYERS, PLC
WILLIAMS, PAMELA                                        NJ - USDC for the District of New Jersey                  3:21-cv-15879     LENZE LAWYERS, PLC
WILSON, MARIAN                                          NJ - USDC for the District of New Jersey                  3:21-cv-15793     LENZE LAWYERS, PLC
WILSON, SARA                                            NJ - USDC for the District of New Jersey                  3:21-cv-15497     LENZE LAWYERS, PLC
WINCHESTER, KRIS                                        NJ - USDC for the District of New Jersey                  3:21-cv-15637     LENZE LAWYERS, PLC
WRIGHT, KATIE                                           NJ - USDC for the District of New Jersey                  3:21-cv-15424     LENZE LAWYERS, PLC
WYATT, ROBIN                                            NJ - USDC for the District of New Jersey                  3:21-cv-15987     LENZE LAWYERS, PLC
YARBOROUGH, RUBY                                        NJ - USDC for the District of New Jersey                  3:21-cv-15991     LENZE LAWYERS, PLC
YARBROUGH, KATHERINE                                    NJ - USDC for the District of New Jersey                  3:21-cv-15568     LENZE LAWYERS, PLC
YINGLING, MELODY                                        NJ - USDC for the District of New Jersey                  3:21-cv-15821     LENZE LAWYERS, PLC
YOCOM, LISA                                             NJ - USDC for the District of New Jersey                  3:21-cv-15719     LENZE LAWYERS, PLC
YOUNG, PORSCHIA                                         NJ - USDC for the District of New Jersey                  3:21-cv-15954     LENZE LAWYERS, PLC
POSTON, DARLENE                                         NJ - USDC for the District of New Jersey                  3:21-cv-09349     LEVIN PAPANTONIO THOMAS MITCHELL RAFFERT
ADAMS, CECILIA                                          NJ - USDC for the District of New Jersey                  3:21-cv-19138     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR
CARTER, JEAN                                            NJ - USDC for the District of New Jersey                  3:21-cv-19142     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR
DORNEY, LILLY                                           NJ - USDC for the District of New Jersey                  3:21-cv-19144     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR
KELLY, VALERIE                                          NJ - USDC for the District of New Jersey                  3:21-cv-19150     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR
LYERLA, KATHY                                           NJ - USDC for the District of New Jersey                  3:21-cv-19160     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR
SALTER, MYLOVE                                          NJ - USDC for the District of New Jersey                  3:21-cv-19141     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR
WING, KATHERINE                                         NJ - USDC for the District of New Jersey                  3:21-cv-19145     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR
CARABALLO, ESPERANZA                                    NJ - USDC for the District of New Jersey                  3:21-cv-18748     MCSWEENEY/LANGEVIN, LLC
PETERSON, NANCY                                         NJ - USDC for the District of New Jersey                  3:21-cv-18754     MCSWEENEY/LANGEVIN, LLC
WHITE, ALMA                                             NJ - USDC for the District of New Jersey                  3:21-cv-18738     MCSWEENEY/LANGEVIN, LLC
ADAMS, ELIZABETH S.                                     NY - Supreme Court - NYCAL                                190316/2019       MEIROWITZ & WASSERBERG, LLP
AITYAHIA, ABDERR                                        NY - Supreme Court - NYCAL                                190112/2017       MEIROWITZ & WASSERBERG, LLP
ALLEN, WILLIAM T                                        NY - Supreme Court - NYCAL                                190429/2018       MEIROWITZ & WASSERBERG, LLP
BEAL, MARION ELIZABETH & EST OF GENE BEAL NY - Supreme Court - NYCAL                                              190157/2017       MEIROWITZ & WASSERBERG, LLP
BIELECKI, HANNA L. & BIELECKI, EDWARD                   NY - Supreme Court - NYCAL                                190028/2017       MEIROWITZ & WASSERBERG, LLP
BLASSINI, VILMA & PEREZ, VICTOR                         NY - Supreme Court - NYCAL                                190067/2018       MEIROWITZ & WASSERBERG, LLP
BROWN, ROBERT                                           NY - Supreme Court - NYCAL                                190375/2017       MEIROWITZ & WASSERBERG, LLP
CALVETTI, JAMES A & EST OF JOSEPH CALVETTI NY - Supreme Court - NYCAL                                             190198/2018       MEIROWITZ & WASSERBERG, LLP
CAMPBELL, GAY & EST OF IVY FERGUSON                     NY - Supreme Court - NYCAL                                190182/2018       MEIROWITZ & WASSERBERG, LLP
CARAMANICA, EDWARD                                      NY - Supreme Court - NYCAL                                190191/2019       MEIROWITZ & WASSERBERG, LLP
CARREON, RAMON                                          NY - Supreme Court - NYCAL                                190128/2020       MEIROWITZ & WASSERBERG, LLP
CHANCELLOR, TRACI                                       NY - Supreme Court - NYCAL                                190155/2019       MEIROWITZ & WASSERBERG, LLP
CHAVIRA, FRANCISCO V                                    NY - Supreme Court - NYCAL                                190168/2019       MEIROWITZ & WASSERBERG, LLP
COHEE,
DANTIN,PAMELA
        MELODY&BAEHR
                EST OF&
                      VINCENT   COHEE
                        EST OF LLOYD                    NY - Supreme Court - NYCAL                                190082/2018       MEIROWITZ & WASSERBERG, LLP
BAEHR                                                   NY - Supreme Court - NYCAL                                190342/2017       MEIROWITZ & WASSERBERG, LLP
DAVIS, DORIS & EST OF PATRICK L DAVIS                   NY - Supreme Court - NYCAL                                190339/2016       MEIROWITZ & WASSERBERG, LLP
DE ROJAS, RACHAEL & EST OF MARGARITA ROJANY - Supreme Court - NYCAL                                               190285/2019       MEIROWITZ & WASSERBERG, LLP
DUNHAM, WILMA & DUNHAM, SHELBY D                        NY - Supreme Court - NYCAL                                190222/2019       MEIROWITZ & WASSERBERG, LLP
FLORES, LOUIS S. & FLORES, BERTHA G.                    NY - Supreme Court - NYCAL                                19011/2020        MEIROWITZ & WASSERBERG, LLP
FRANTZ, KAREN                                           NY - Supreme Court - NYCAL                                190060/2018       MEIROWITZ & WASSERBERG, LLP
FULLEN, RICHARD W                                       NY - Supreme Court - NYCAL                                190065/2018       MEIROWITZ & WASSERBERG, LLP
GARCIA, JENNIFER GARCIA & EST OF HIPOLITO GNY - Supreme Court - NYCAL                                             190064/2018       MEIROWITZ & WASSERBERG, LLP
GARCIA, MARIA V                                         NY - Supreme Court - NYCAL                                190061/2018       MEIROWITZ & WASSERBERG, LLP
GARCIA, RALPH                                           NY - Supreme Court - NYCAL                                190392/2017       MEIROWITZ & WASSERBERG, LLP
GLOYN, GARY & GLOYN, NORMAN                             NY - Supreme Court - NYCAL                                190389/2018       MEIROWITZ & WASSERBERG, LLP
GONZALEZ, MARIA & EST OF MIGUEL GARCIA                  NY - Supreme Court - NYCAL                                190232/2019       MEIROWITZ & WASSERBERG, LLP
GU, XIAO X                                              NY - Supreme Court - NYCAL                                190062/2018       MEIROWITZ & WASSERBERG, LLP
HAUGHEY, FRED                                           NY - Supreme Court - NYCAL                                190446/2018       MEIROWITZ & WASSERBERG, LLP
HERNANDEZ, MARIA                                        NY - Supreme Court - NYCAL                                190331/2018       MEIROWITZ & WASSERBERG, LLP
KARLOWICZ, MARIA & EST OF JERZY KARLOWIC NY - Supreme Court - NYCAL                                               190070/2020       MEIROWITZ & WASSERBERG, LLP
KHAN, NASREEN ASHRAF & EST OF MOHAMMADNY - Supreme Court - NYCAL                                                  190165/2018       MEIROWITZ & WASSERBERG, LLP
KIM, JI HYUNG                                           NY - Supreme Court - NYCAL                                190238/2016       MEIROWITZ & WASSERBERG, LLP




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* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                 State Filed                        Docket Number                      Plaintiff Counsel
KNAPP, DAVID AND KNAP, KAY                              NY - Supreme Court - NYCAL                                190282/2016       MEIROWITZ & WASSERBERG, LLP
KNOPPS, SANDRA                                          NY - Supreme Court - NYCAL                                190265/2019       MEIROWITZ & WASSERBERG, LLP
MATE, JOZSEFNE                                          NY - Supreme Court - NYCAL                                190110/2017       MEIROWITZ & WASSERBERG, LLP
MEDRANO, IRMA                                           NY - Supreme Court - NYCAL                                190055/2018       MEIROWITZ & WASSERBERG, LLP
MORALES, MARLENE M & EST OF OSCAR MORALNY - Supreme Court - NYCAL                                                 190430/2018       MEIROWITZ & WASSERBERG, LLP
MURRAY, LOUIS J                                         NY - Supreme Court - NYCAL                                190059/2018       MEIROWITZ & WASSERBERG, LLP
NOVELLINO, PETER & EST OF KAREN NOVELLINONY - Supreme Court - NYCAL                                               190266/2019       MEIROWITZ & WASSERBERG, LLP
OTERO, LILY I & EST OF JOSEPH ARROYO                    NY - Supreme Court - NYCAL                                190063/2018       MEIROWITZ & WASSERBERG, LLP
PICHARDO, HUMBERTO                                      NY - Supreme Court - NYCAL                                190151/2018       MEIROWITZ & WASSERBERG, LLP
PITTAWAY, COLIN & EST OF FRANCES PITTAWAYNY - Supreme Court - NYCAL                                               190161/2019       MEIROWITZ & WASSERBERG, LLP
PURDY, JEROME & EST OF DANIELLE PURDY                   NY - Supreme Court - NYCAL                                190335/2018       MEIROWITZ & WASSERBERG, LLP
QAMARUDDIN, ASLAM & QAMARUDDIN, SALMA NY - Supreme Court - NYCAL                                                  190287/2019       MEIROWITZ & WASSERBERG, LLP
RICALDI, FLORENCIA & RICALDI, HIBERMAN                  NY - Supreme Court - NYCAL                                190218/2019       MEIROWITZ & WASSERBERG, LLP
ROBINS, JERRY                                           NY - Supreme Court - NYCAL                                190264/2019       MEIROWITZ & WASSERBERG, LLP
ROSENBLUM, LINDA & EST OF BARRY G ROSENB NY - Supreme Court - NYCAL                                               190361/2018       MEIROWITZ & WASSERBERG, LLP
RUNNELS, MICHAEL W & EST OF JIMMY RUNNEL NY - Supreme Court - NYCAL                                               190379/2018       MEIROWITZ & WASSERBERG, LLP
SAUNDERS, DIANA                                         NY - Supreme Court - NYCAL                                190363/2016       MEIROWITZ & WASSERBERG, LLP
SCHAPS, SCOTT                                           NY - Supreme Court - NYCAL                                190198/2017       MEIROWITZ & WASSERBERG, LLP
SIMON, SUSAN & EST OF DANIEL SIMON                      NY - Supreme Court - NYCAL                                190252/2017       MEIROWITZ & WASSERBERG, LLP
SMILEY, RAMONA & EST OF RONNIE J SMILEY                 NY - Supreme Court - NYCAL                                190323/2019       MEIROWITZ & WASSERBERG, LLP
SPENCER, TODD & BHARAMI, MIRIAM                         NY - Supreme Court - NYCAL                                190025/2019       MEIROWITZ & WASSERBERG, LLP
STODOLAK, DAVID D                                       NY - Supreme Court - NYCAL                                190253/2017       MEIROWITZ & WASSERBERG, LLP
TORRES, MAXIMO                                          NY - Supreme Court - NYCAL                                190343/2017       MEIROWITZ & WASSERBERG, LLP
WALBERG, SUSAN A. & WALLBERG, ALEXANDERNY - Supreme Court - NYCAL                                                 190335/2016       MEIROWITZ & WASSERBERG, LLP
WARREN, CAROL & EST OF RICKY HALLETT                    NY - Supreme Court - NYCAL                                190141/2018       MEIROWITZ & WASSERBERG, LLP
WILLIAMS, DIANNA L                                      NY - Supreme Court - NYCAL                                190364/2016       MEIROWITZ & WASSERBERG, LLP
YELDA, SAUDIKA                                          NY - Supreme Court - NYCAL                                190247/2017       MEIROWITZ & WASSERBERG, LLP
GUERRA, MARIA                                           CANADA - British Columbia Superior Court of Justice       179011            MERCHANT LAW GROUP LLP
BROOKS, DENISE                                          IL - Circuit Court - Cook County                          2017L011567       MEYERS & FLOWERS, LLC
PAGE, DIANE                                             NJ - USDC for the District of New Jersey                  3:21-cv-19006     MORGAN & MORGAN
BURKAT, MARGARET                                        NJ - Superior Court - Atlantic County                     ATL-L-003399-21   MOTLEY RICE NEW JERSEY LLC
ADAMSON, LINDA                                          NJ - USDC for the District of New Jersey                  3:21-cv-18805     MOTLEY RICE, LLC
BROWN, DEBORAH                                          NJ - USDC for the District of New Jersey                  3:21-cv-18728     MOTLEY RICE, LLC
CURTIS, ESTHER                                          NJ - USDC for the District of New Jersey                  3:21-cv-18824     MOTLEY RICE, LLC
GARCIA, HILDA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18802     MOTLEY RICE, LLC
HENSLEY, DEBORAH                                        NJ - USDC for the District of New Jersey                  3:21-cv-18811     MOTLEY RICE, LLC
HOWELL, LORRIE                                          NJ - USDC for the District of New Jersey                  3:21-cv-18809     MOTLEY RICE, LLC
JAMES, KATHRYN                                          NJ - USDC for the District of New Jersey                  3:21-cv-18803     MOTLEY RICE, LLC
JUSTICE, PATRICIA                                       NJ - USDC for the District of New Jersey                  3:21-cv-18782     MOTLEY RICE, LLC
KIRSHNER, LILIANA                                       NJ - USDC for the District of New Jersey                  3:21-cv-18780     MOTLEY RICE, LLC
NICHOLAS, LEANN                                         NJ - USDC for the District of New Jersey                  3:21-cv-18712     MOTLEY RICE, LLC
RUSSELL, RALENE                                         NJ - USDC for the District of New Jersey                  3:21-cv-18783     MOTLEY RICE, LLC
SKERMAN, ANNA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18725     MOTLEY RICE, LLC
TOOMEY, CAROL                                           NJ - USDC for the District of New Jersey                  3:21-cv-18735     MOTLEY RICE, LLC
A. WILSON, MEL                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
ADAMS, JACKIE                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
AHRENS, BRENDA                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
ALEGANDRA-DOMINGUEZ, SINDY                              IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
ARIAS-ARAGON, JESUS                                     IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
BEILKE, SUSAN                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
BELLE-ROBINSON, CRYSTAL                                 IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
BLASIOL, VICTOR                                         IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
BOEHME, WYNONIA                                         IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
BONAMO, DORIAN                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
BRYSON, ANN                                             IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
BURNETT, TYLER                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
C. PENA, JORGE                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
CABRAL, JOAN                                            IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
CANFIELD, FERN                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
CANNON, ANNE                                            IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
CARPENTER, BRYAN                                        IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
CARTER, KELLY                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
CATILLER, BARBARA                                       IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
CHILARSKI, MICHAEL                                      IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
CIANCIOLA, ESTHER                                       IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
COATS, ROBERT                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
COCKERHAM, BRENDA                                       IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK




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* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                 State Filed                    Docket Number                     Plaintiff Counsel
COLGRAVE, ROSALEE                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
COLSTEN, MICHAEL                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
COLVIN, CAROLE                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
CONNER, JUSSETT                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
COPERTINO, LORRAINE                                     IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
CORDES, HOWARD                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
CORRAL, BEATRIZ                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
CUTRUMBES, CAROLE                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DABELL, D'ANN                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DANBY, DIANA                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DANIEL, JEFFREY                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DEFILIPPIS, KATHYRN                                     IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DEFOREST, ALVIN                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DELANEY, CHARLOTTE                                      IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DELSIGNORE, DELORES                                     IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DERR, ARTHENE                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DIEHL, KIM                                              IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DIETZ, STEVEN                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DIFATTA JR., CHARLES                                    IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DIMARIO, JOSEPH                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DOLLINS, JUDY                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DWECK, CHERYL                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
DYHHOUSE, ANNE MARIE                                    IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
EASTER, MARJORIE                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
EDWARDS, CRYSTAL                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
ELSTON, JESENTA                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
ESCALANTE-GARZA, FERNANDO                               IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
FEINSTEIN, BRIAN                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
FELLER, RYAN                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
FERRARO, JANICE                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
FLOWERS, TRANSITA                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
FREDELL, SALLY                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
FULTON, DOLORES                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
GANSBERG, JEFFREY                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
GARCIA, YOHANY                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
GARNER, WILMA                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
GIBBS, SIMON                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
GLATZLE, ERIC                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
GRANDE, LISA                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HACHEY, NOREEN                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HALL, MARY                                              IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HANNAN, GEORGIA                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HECKER, GARY                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HEER, JOHN                                              IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HENSELEIT, KATHLEEN                                     IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HERRING, IDA                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HIATT, MARY                                             IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HODAPP, REBECCA                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HOELMER, LAVON                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HOLLOMAN, LUCINDA                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HORNER, SIMON                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HUFF, JIMMIE                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HUMPHREY, NORM                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HUMPICH, LISA LEA; TAYLOR SR., ROBERT                   IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HUNNICUTT, DOROTHY                                      IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
HYMAN-BUCY, BRENDA                                      IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
JAYNES, RUSSELL                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
JELICH, JOAN                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
JOYAL, JOYCE                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
JOYCE, LONNIE                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KALVELS, DENNIS                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KEITH, TERENCE                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KENNEDY, BILLY                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KINNEY, MARK                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KIRK, BENNY                                             IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KIRK, FRANLIN                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KLENA, STEPHEN                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK




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* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                 State Filed                    Docket Number                     Plaintiff Counsel
KLINE, KEVIN                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KREJCI, NANCY                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KRUEGER, WERNER                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KUMIEGA, CHARMAINE                                      IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
KUTZSCHER, STEPHEN                                      IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
LAFRANCE, SUZANNE                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
LAND, SHARON                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
LANGEVIN, JR., ALBERT                                   IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
LEONARD, JAMES                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
LEU, CORY                                               IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
LEWIS, E.J.                                             IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
LOSI, SANDRA                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
LOUDERMILK, ETHEL                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
LOWERY, NICOLE                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MAKAS SR., JERRY                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MALDONADO, MARIA                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MARIA PADILLA, ANNA                                     IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MARTINEZ, ANNA                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MARTINEZ, DANIEL                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MARTINEZ, SHIRLEY                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MCCANN, GINGER                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MCCLAIN, DON                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MCCRAY, WILLIAM                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MCCREA, TERRI                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MEDINA, ANDRIANA                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
METZGER, JOYCE                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MILLER, NANCY AND REIS, JOAN                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MOBLEY, JAMES                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MOLINA, PEDRO                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MONROE, KHALID                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MOORE, SCOTT                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MOOROW, CAROL                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MOREY, COURTNEY                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
MYERS, CHARMAINE                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
NIELSEN, REBECCA                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
O'CONNELL, JOHN; BERKOWITZ, ALAN                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
O'CONNELL, MICHAEL                                      IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
OGLE III, JAMES                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
ORMSBY, DOROTHY                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
PADGETT, SHERMAN                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
PEREZ JR., EDUARDO                                      IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
PHILLIPS, EDWARD                                        IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
R. CHIONSKI, STANLEY                                    IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
RAYMOND, LOUANE                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
ROBERTS, SANDRA                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
RODRIGUEZ, CATHERINE                                    IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
ROTHDEUTSCHM, JOSEPH                                    IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
ROUSE, ANNA                                             IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
RUPPEL, PETER                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
SAJDERA, JOZEFA                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
SALKO, DENNIS                                           IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
SCHAUB, LARA                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
SCHROEDER, BARBARA                                      IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
SCWANTJE, MARK                                          IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
SEPE, DELFIN                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
SIMPSON, GINGER                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
SISNEROZ, ROSIE                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
SMITH, GREG                                             IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
ST. GERMAIN, TAMI                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
STEIGERWALT, RUTH                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
STITT, HELEN                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
STRICKLAND, PEGGY                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
STUTTERS, KATHERINE                                     IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
THOMASSON, CLAIRE                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
THOMPSON, DAVID                                         IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
VALENCIA, MARILYN                                       IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK
VERNON, JEFF                                            IL - Circuit Court - Madison County                   21-L-1291         NAPOLI SHKOLNIK




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            Case 21-03032                           Doc 60               Filed 11/03/21 Entered 11/03/21 12:20:58                                            Desc Main
                                                                         Document Appendix
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* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                 State Filed                        Docket Number                     Plaintiff Counsel
VIERA, CARMEN                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WALTON, RUSTY                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WEYAND, JANET                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WIBLE, GREGORY                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WILEY, JAMES                                            IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WILKINS , FRANCES                                       IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WILLIAMS, MINA                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WILLIS, JAMES                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WILLIS, VIOLA                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WILLMAN, LINDA                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WITTROCK, RICHARD                                       IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WOHLMAN, MARSHA                                         IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WOJCIK, KATHRYN                                         IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WOLF, SHARON                                            IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WRIGHT, TERRIE                                          IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
WYNNE, JAMES                                            IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
YOUNG, GEORGE (JUANITA)                                 IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
ZUNIGA, JIMMY                                           IL - Circuit Court - Madison County                       21-L-1291         NAPOLI SHKOLNIK
ARTIS, TAMMY                                            NJ - USDC for the District of New Jersey                  3:21-cv-18446     ONDERLAW, LLC
ASHER, CHRISTINA                                        NJ - USDC for the District of New Jersey                  3:21-cv-18514     ONDERLAW, LLC
BAJWA, SHAZIA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18567     ONDERLAW, LLC
BARNES, SHURHONDA                                       NJ - USDC for the District of New Jersey                  3:21-cv-18598     ONDERLAW, LLC
BAZAN, MELISSA                                          NJ - USDC for the District of New Jersey                  3:21-cv-18444     ONDERLAW, LLC
BLAIR, JULIE                                            NJ - USDC for the District of New Jersey                  3:21-cv-18584     ONDERLAW, LLC
BOWLES, MYRA                                            NJ - USDC for the District of New Jersey                  3:21-cv-18595     ONDERLAW, LLC
BOWLING, KIMBERLY                                       NJ - USDC for the District of New Jersey                  3:21-cv-18491     ONDERLAW, LLC
CHOWDHRY, ASIMA                                         NJ - USDC for the District of New Jersey                  3:21-cv-18589     ONDERLAW, LLC
COVINGTON, TRACY                                        NJ - USDC for the District of New Jersey                  3:21-cv-18576     ONDERLAW, LLC
CUOZZO, MARY                                            NJ - USDC for the District of New Jersey                  3:21-cv-18562     ONDERLAW, LLC
DANIEL, LECHIA                                          NJ - USDC for the District of New Jersey                  3:21-cv-18528     ONDERLAW, LLC
DEDMAN, SAMANTHA                                        NJ - USDC for the District of New Jersey                  3:21-cv-18568     ONDERLAW, LLC
EISLER, DEBORAH                                         NJ - USDC for the District of New Jersey                  3:21-cv-18263     ONDERLAW, LLC
ETCITTY, DARLENE                                        NJ - USDC for the District of New Jersey                  3:21-cv-18496     ONDERLAW, LLC
FELTON, DORIS                                           NJ - USDC for the District of New Jersey                  3:21-cv-18591     ONDERLAW, LLC
FISHER, SHEILA                                          NJ - USDC for the District of New Jersey                  3:21-cv-18599     ONDERLAW, LLC
GONZALES, EILEEN                                        NJ - USDC for the District of New Jersey                  3:21-cv-18588     ONDERLAW, LLC
HAMILTON, MAE                                           NJ - USDC for the District of New Jersey                  3:21-cv-17721     ONDERLAW, LLC
HIVELY, MICHELLE                                        NJ - USDC for the District of New Jersey                  3:21-cv-18523     ONDERLAW, LLC
HOOVER, JANE                                            NJ - USDC for the District of New Jersey                  3:21-cv-18564     ONDERLAW, LLC
HUNTER, PRISCILLA                                       NJ - USDC for the District of New Jersey                  3:21-cv-18521     ONDERLAW, LLC
INGLETON, TIA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18399     ONDERLAW, LLC
JARRETT, STEPHNEY                                       NJ - USDC for the District of New Jersey                  3:21-cv-18577     ONDERLAW, LLC
JEPSEN, RHODA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18426     ONDERLAW, LLC
KELLY, SHARON                                           NJ - USDC for the District of New Jersey                  3:21-cv-18561     ONDERLAW, LLC
LABEAUME, CAROL                                         NJ - USDC for the District of New Jersey                  3:21-cv-18560     ONDERLAW, LLC
MARTINEZ, JULIE                                         NJ - USDC for the District of New Jersey                  3:21-cv-18604     ONDERLAW, LLC
MARX, KAY                                               NJ - USDC for the District of New Jersey                  3:21-cv-18306     ONDERLAW, LLC
MATHEWS, KIMBERLY                                       NJ - USDC for the District of New Jersey                  3:21-cv-18536     ONDERLAW, LLC
MCKEE, MARTHA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18307     ONDERLAW, LLC
MILIAN, NIRIA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18573     ONDERLAW, LLC
MONGELLI, LISA                                          NJ - USDC for the District of New Jersey                  3:21-cv-18532     ONDERLAW, LLC
MUNDEN, DIONA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18559     ONDERLAW, LLC
MYERS, GEORGIA                                          NJ - USDC for the District of New Jersey                  3:21-cv-18285     ONDERLAW, LLC
NORWOOD, DOROTHY                                        NJ - USDC for the District of New Jersey                  3:21-cv-18518     ONDERLAW, LLC
OMBRELLINO, CONCETTA                                    NJ - USDC for the District of New Jersey                  3:21-cv-18312     ONDERLAW, LLC
OWENS, RHONDA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18580     ONDERLAW, LLC
PANE, CHRISTINE                                         NJ - USDC for the District of New Jersey                  3:21-cv-18365     ONDERLAW, LLC
PHELPS, RONDA                                           NJ - USDC for the District of New Jersey                  3:21-cv-18487     ONDERLAW, LLC
QUALLS, BILLIE                                          NJ - USDC for the District of New Jersey                  3:21-cv-18570     ONDERLAW, LLC
RAINEY, STEPHANIE                                       NJ - USDC for the District of New Jersey                  3:21-cv-18494     ONDERLAW, LLC
REYNOLDS, TERRI                                         NJ - USDC for the District of New Jersey                  3:21-cv-18295     ONDERLAW, LLC
ROBERTS, KAREN                                          NJ - USDC for the District of New Jersey                  3:21-cv-18582     ONDERLAW, LLC
ROE, SHERI                                              NJ - USDC for the District of New Jersey                  3:21-cv-18535     ONDERLAW, LLC
ROZUM, KATHRYN                                          NJ - USDC for the District of New Jersey                  3:21-cv-18320     ONDERLAW, LLC
SANCHEZ, BRENDA                                         NJ - USDC for the District of New Jersey                  3:21-cv-18539     ONDERLAW, LLC
SANCHEZ, FLORENCIA                                      NJ - USDC for the District of New Jersey                  3:21-cv-18540     ONDERLAW, LLC
SIMPSON, TYSHA                                          NJ - USDC for the District of New Jersey                  3:21-cv-18435     ONDERLAW, LLC




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* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                 State Filed                          Docket Number                      Plaintiff Counsel
SIMS, SHARON                                            NJ - USDC for the District of New Jersey                    3:21-cv-17636     ONDERLAW, LLC
SMITH, BERNICE                                          NJ - USDC for the District of New Jersey                    3:21-cv-18501     ONDERLAW, LLC
SPEARS, ERICA                                           NJ - USDC for the District of New Jersey                    3:21-cv-18509     ONDERLAW, LLC
STANLEY, CAROL                                          NJ - USDC for the District of New Jersey                    3:21-cv-18601     ONDERLAW, LLC
STRANGE, JANICE                                         NJ - USDC for the District of New Jersey                    3:21-cv-18378     ONDERLAW, LLC
STUTSMAN, AMANDA                                        NJ - USDC for the District of New Jersey                    3:21-cv-18497     ONDERLAW, LLC
WALKER, ANGELIA                                         NJ - USDC for the District of New Jersey                    3:21-cv-18170     ONDERLAW, LLC
WHITSON, MICHELLE                                       NJ - USDC for the District of New Jersey                    3:21-cv-18489     ONDERLAW, LLC
WILLIAMS, BONNIE                                        NJ - USDC for the District of New Jersey                    3:21-cv-18512     ONDERLAW, LLC
WRIGHT, NIKKI                                           NJ - USDC for the District of New Jersey                    3:21-cv-18600     ONDERLAW, LLC
YOUNG, JANET                                            NJ - USDC for the District of New Jersey                    3:21-cv-18168     ONDERLAW, LLC
GUTIERREZ, LOUISA                                       US Court of Appeals for the Ninth Circuit                   21-55141          POTTER HANDY LLP
LUNA, DEBBIE                                            US Court of Appeals for the Ninth Circuit                   21-55141          POTTER HANDY LLP
KELLY, DIANE                                            NJ - USDC for the District of New Jersey                    3:21-cv-15191     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BAROCAS, JANICE                                         NJ - USDC for the District of New Jersey                    3:21-cv-15373     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BENITEZ, MARIA                                          NJ - USDC for the District of New Jersey                    3:21-cv-15774     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BERGER, MARILYN                                         NJ - USDC for the District of New Jersey                    3:21-cv-15799     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BERRETH, GAYLE                                          NJ - USDC for the District of New Jersey                    3:21-cv-15239     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BERRY, LUCILE                                           NJ - USDC for the District of New Jersey                    3:21-cv-15755     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BLACKBURN, TRACY                                        NJ - USDC for the District of New Jersey                    3:21-cv-15535     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BONHEYO, LORI                                           NJ - USDC for the District of New Jersey                    3:21-cv-15745     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BOWLING, LISA                                           NJ - USDC for the District of New Jersey                    3:21-cv-15714     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BRAZEALE, JACKIE                                        NJ - USDC for the District of New Jersey                    3:21-cv-15254     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
BURNS, SHELLY                                           NJ - USDC for the District of New Jersey                    3:21-cv-15505     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
CASTILLO, SINDA                                         NJ - USDC for the District of New Jersey                    3:21-cv-15530     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
CRUZ, SUSAN                                             NJ - USDC for the District of New Jersey                    3:21-cv-15531     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
DAVIS, SHIRLENE                                         NJ - USDC for the District of New Jersey                    3:21-cv-15510     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
DESERSA, DOVALIEN                                       NJ - USDC for the District of New Jersey                    3:21-cv-15193     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
DUGGER, KATHERINE                                       NJ - USDC for the District of New Jersey                    3:21-cv-15561     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
EVERY, RUBY                                             NJ - USDC for the District of New Jersey                    3:21-cv-15490     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
FAGAN, KATHRYN                                          NJ - USDC for the District of New Jersey                    3:21-cv-15586     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
FANCHER, DORIS                                          NJ - USDC for the District of New Jersey                    3:21-cv-15192     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
FLORES, THERESA                                         NJ - USDC for the District of New Jersey                    3:21-cv-15533     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
FRICK, KAREN                                            NJ - USDC for the District of New Jersey                    3:21-cv-15420     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
GARRETT, PATRICIA                                       NJ - USDC for the District of New Jersey                    3:21-cv-15461     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
GIBBONS, IRMA                                           NJ - USDC for the District of New Jersey                    3:21-cv-15251     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
HALL, LINDA                                             NJ - USDC for the District of New Jersey                    3:21-cv-15431     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
HARPER, JEWELL                                          NJ - USDC for the District of New Jersey                    3:21-cv-15396     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
HARRIS, PAULETTE                                        NJ - USDC for the District of New Jersey                    3:21-cv-15485     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
HAYS, KATHLEEN                                          NJ - USDC for the District of New Jersey                    3:21-cv-15577     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
HESTER, KATHERYN                                        NJ - USDC for the District of New Jersey                    3:21-cv-15571     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
HEYWARD, THELMA                                         NJ - USDC for the District of New Jersey                    3:21-cv-15532     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
HIGGS, JUNE                                             NJ - USDC for the District of New Jersey                    3:21-cv-15417     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
HUGHES, SHEFFEY                                         NJ - USDC for the District of New Jersey                    3:21-cv-15500     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
JOHNSON, SHIRLEY                                        NJ - USDC for the District of New Jersey                    3:21-cv-15525     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
KIRKLAND, ERNESTINE                                     NJ - USDC for the District of New Jersey                    3:21-cv-15230     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
MADISON, WILLIET                                        NJ - USDC for the District of New Jersey                    3:21-cv-15537     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
MASTERS, PATRICIA                                       NJ - USDC for the District of New Jersey                    3:21-cv-15478     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
METZ, TIFFANY                                           NJ - USDC for the District of New Jersey                    3:21-cv-15534     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
MILLS, CAROLYN                                          NJ - USDC for the District of New Jersey                    3:21-cv-15166     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
NETHERLAND, LINDA                                       NJ - USDC for the District of New Jersey                    3:21-cv-15432     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
OROPEZA, MARTHA                                         NJ - USDC for the District of New Jersey                    3:21-cv-15807     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
OXENDINE, KATHERINE                                     NJ - USDC for the District of New Jersey                    3:21-cv-15565     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
POOL, MELISSA                                           NJ - USDC for the District of New Jersey                    3:212-cv-15819    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
REUTER, DEBRA                                           NJ - USDC for the District of New Jersey                    3:21-cv-15187     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
RICHARDSON, LISA                                        NJ - USDC for the District of New Jersey                    3:21-cv-15456     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
RIVERA, OLGA                                            NJ - USDC for the District of New Jersey                    3:21-cv-15464     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
ROBERTS, NANCY                                          NJ - USDC for the District of New Jersey                    3:21-cv-15831     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
ROBINSON, NAN                                           NJ - USDC for the District of New Jersey                    3:21-cv-15829     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
ROBINSON, SHERI                                         NJ - USDC for the District of New Jersey                    3:21-cv-16075     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
ROGERS, LORETTA                                         NJ - USDC for the District of New Jersey                    3:21-cv-15453     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SALAZAR, MONICA                                         NJ - USDC for the District of New Jersey                    3:21-cv-15824     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SANCHEZ, MONICA                                         NJ - USDC for the District of New Jersey                    3:21-cv-15826     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SCARLETT, LILLIE                                        NJ - USDC for the District of New Jersey                    3:2-cv-15669      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SCHUETZ, LINDA                                          NJ - USDC for the District of New Jersey                    3:21-cv-15704     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SCHWARTZ, LINDA                                         NJ - USDC for the District of New Jersey                    3:21-cv-15705     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SHANKWEILER, KATHRYN                                    NJ - USDC for the District of New Jersey                    3:21-cv-15426     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS




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* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                  State Filed                        Docket Number                        Plaintiff Counsel
SIMPSON, LINDA                                          NJ - USDC for the District of New Jersey                   3:21-cv-15709     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SIMS, ORALEAN                                           NJ - USDC for the District of New Jersey                   3:21-cv-15473     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SOTO, MARIA                                             NJ - USDC for the District of New Jersey                   3:21-cv-15796     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SPARKMAN, STACEY                                        NJ - USDC for the District of New Jersey                   3:21-cv-15527     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
STRATTON, NANCY                                         NJ - USDC for the District of New Jersey                   3:21-cv-15833     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
STROH, NORMA                                            NJ - USDC for the District of New Jersey                   3:21-cv-15865     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SUIRE, ROXANE                                           NJ - USDC for the District of New Jersey                   3:21-cv-15990     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SUMPTER, LOLITA                                         NJ - USDC for the District of New Jersey                   3:21-cv-15730     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SUTTLE, LAURA                                           NJ - USDC for the District of New Jersey                   3:21-cv-15657     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
TALAMANTES, PATRICIA                                    NJ - USDC for the District of New Jersey                   3:21-cv-15891     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
TAUTEROUFF, MARY                                        NJ - USDC for the District of New Jersey                   3:21-cv-15434     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
TAYLOR, LORENNA                                         NJ - USDC for the District of New Jersey                   3:21-cv-15734     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
THOMAS-LEWIS, SHEILA                                    NJ - USDC for the District of New Jersey                   3:21-cv-16034     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
TROTTER, SHERRY                                         NJ - USDC for the District of New Jersey                   3:21-cv-16086     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
UNDERWOOD, MARSHA                                       NJ - USDC for the District of New Jersey                   3:21-cv-15809     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
UTTERBACK, PAMELA                                       NJ - USDC for the District of New Jersey                   3:21-cv-15875     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
VANDERPOOL, PATRICIA                                    NJ - USDC for the District of New Jersey                   3:21-cv-15904     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
VIEHMEYER, CHERYL                                       NJ - USDC for the District of New Jersey                   3:21-cv-15172     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
VUKELICH, MARIA                                         NJ - USDC for the District of New Jersey                   3:21-cv-15791     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WANG, LISA                                              NJ - USDC for the District of New Jersey                   3:21-cv-15721     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WARREN, CAROL                                           NJ - USDC for the District of New Jersey                   3:21-cv-15164     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WARREN, TREVA                                           NJ - USDC for the District of New Jersey                   3:21-cv-15558     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WATKINS, NANCY                                          NJ - USDC for the District of New Jersey                   3:21-cv-15457     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WESTBERG, LINDA                                         NJ - USDC for the District of New Jersey                   3:21-cv-15435     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WHEELER, JUDY                                           NJ - USDC for the District of New Jersey                   3:21-cv-15403     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WHITE, MARY                                             NJ - USDC for the District of New Jersey                   3:21-cv-15814     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WHITE-HENDERSON, TRENICA                                NJ - USDC for the District of New Jersey                   3:21-cv-15536     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WICKSTROM, SHERRY                                       NJ - USDC for the District of New Jersey                   3:21-cv-16089     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WILLIAMS, KENDRA                                        NJ - USDC for the District of New Jersey                   3:21-cv-15621     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WILLIAMS, MARILYN                                       NJ - USDC for the District of New Jersey                   3:21-cv-15802     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WILLIAMS, MARY                                          NJ - USDC for the District of New Jersey                   3:21-cv-15433     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WILLIAMS, PAMELA                                        NJ - USDC for the District of New Jersey                   3:21-cv-15879     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WILSON, MARIAN                                          NJ - USDC for the District of New Jersey                   3:21-cv-15793     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WILSON, SARA                                            NJ - USDC for the District of New Jersey                   3:21-cv-15497     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WINCHESTER, KRIS                                        NJ - USDC for the District of New Jersey                   3:21-cv-15637     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WRIGHT, KATIE                                           NJ - USDC for the District of New Jersey                   3:21-cv-15424     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
WYATT, ROBIN                                            NJ - USDC for the District of New Jersey                   3:21-cv-15987     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
YARBOROUGH, RUBY                                        NJ - USDC for the District of New Jersey                   3:21-cv-15991     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
YARBROUGH, KATHERINE                                    NJ - USDC for the District of New Jersey                   3:21-cv-15568     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
YINGLING, MELODY                                        NJ - USDC for the District of New Jersey                   3:21-cv-15821     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
YOCOM, LISA                                             NJ - USDC for the District of New Jersey                   3:21-cv-15719     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
YOUNG, PORSCHIA                                         NJ - USDC for the District of New Jersey                   3:21-cv-15954     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
ANDERSON, KATHRYN                                       NJ - USDC for the District of New Jersey                   3:21-cv-15581     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
ARP, JULIANNE                                           NJ - USDC for the District of New Jersey                   3:21-cv-15414     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
HOLT, FRANKIE                                           NJ - USDC for the District of New Jersey                   3:21-cv-15236     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
MORSE, JOSEPHINE                                        NJ - USDC for the District of New Jersey                   3:21-cv-15398     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
PENNINGTON, MARGUERITE                                  NJ - USDC for the District of New Jersey                   3:21-cv-15773     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
RAY, LINDA                                              NJ - USDC for the District of New Jersey                   3:21-cv-15703     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
REGENSBURG, MADY                                        NJ - USDC for the District of New Jersey                   3:21-cv-15772     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
RUIZ, LUCIA                                             NJ - USDC for the District of New Jersey                   3:21-cv-15751     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
SANDUSKY, LORETTA                                       NJ - USDC for the District of New Jersey                   3:21-cv-15739     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
ISACKSON, SHARON                                        NJ - USDC for the District of New Jersey                   3:21-cv-19040     SALTZ MONGELUZZI & BENDESKY PC
KIESEL, JOANNE                                          NJ - USDC for the District of New Jersey                   3:21-cv-19039     SALTZ MONGELUZZI & BENDESKY PC
SLUTZKIN, JUDITH                                        NJ - USDC for the District of New Jersey                   3:21-cv-19035     SALTZ MONGELUZZI & BENDESKY PC
AMERKANIAN, LINDA                                       NJ - Superior Court - Atlantic County                      ATL-L-002332-21   SLATER, SLATER, SCHULMAN, LLP
JACKSON, ALICE                                          NJ - USDC for the District of New Jersey                   3:21-cv-14196     SLATER, SLATER, SCHULMAN, LLP
STACY, HELEN                                            NJ - USDC for the District of New Jersey                   3:21-cv-18964     SULLO & SULLO, LLP
COBBS, VALERIE                                          NJ - USDC for the District of New Jersey                   3:18-cv-14477     THE CHEEK LAW FIRM
KENT, WILLIAMS                                          MO - Circuit Court - City of St. Louis                     2122-CC09485      THE GORI LAW FIRM, P.C.
BROOKS, DENISE                                          IL - Circuit Court - Cook County                           2017L011567       THE MILLER FIRM, LLC
DALTON, STEPHANIE                                       NJ - USDC for the District of New Jersey                   3:21-cv-18530     THE MILLER FIRM, LLC
EARLS-RODGERS, JANIE                                    NJ - USDC for the District of New Jersey                   3:21-cv-17684     THE MILLER FIRM, LLC
ESPINOZA, ROCHELLE                                      NJ - USDC for the District of New Jersey                   3:21-cv-17682     THE MILLER FIRM, LLC
JOHNSON, MARIE                                          NJ - USDC for the District of New Jersey                   3:21-cv-18371     THE MILLER FIRM, LLC
LOPEZ, SARA                                             NJ - USDC for the District of New Jersey                   3:21-cv-18416     THE MILLER FIRM, LLC
NEIGHBORS, BETSY                                        NJ - USDC for the District of New Jersey                   3:21-cv-18366     THE MILLER FIRM, LLC
SLAUGHTER, CAROLYN                                      NJ - USDC for the District of New Jersey                   3:21-cv-18014     THE MILLER FIRM, LLC




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* Underlined entries are amendments to Appendix A. All other records are additions.
                   Claimant Name                                                 State Filed                         Docket Number                       Plaintiff Counsel
SPENCER, ANN                                            NJ - USDC for the District of New Jersey                   3:21-cv-18361     THE MILLER FIRM, LLC
STONE, JENNIFER                                         NJ - USDC for the District of New Jersey                   3:21-cv-17036     THE MILLER FIRM, LLC
WARREN, LYNN                                            NJ - USDC for the District of New Jersey                   3:21-cv-18415     THE MILLER FIRM, LLC
SESSOMS, VESTA                                          NJ - USDC for the District of New Jersey                   3:21-cv-17840     TORHOERMAN LAW LLC
ANGELES, SOPHIA                                         NJ - USDC for the District of New Jersey                   3:21-cv-18226     WATERS & KRAUS, LLP
BELLIVEAU, LORI                                         NJ - USDC for the District of New Jersey                   3:21-cv-18626     WATERS & KRAUS, LLP
BETZ, ANGEL                                             NJ - USDC for the District of New Jersey                   3:21-cv-18479     WATERS & KRAUS, LLP
FRANCO, GLADYS                                          NJ - USDC for the District of New Jersey                   3:21-cv-18481     WATERS & KRAUS, LLP
HORTON, SHERRI                                          NJ - USDC for the District of New Jersey                   3:21-cv-18484     WATERS & KRAUS, LLP
AUGUSTUS, ALYSHA                                        NJ - USDC for the District of New Jersey                   3:21-cv-18244     WEITZ & LUXENBERG
BANKS, DOMINIQUE                                        NJ - USDC for the District of New Jersey                   3:21-cv-18624     WEITZ & LUXENBERG
BROWN, ALEXIS                                           NJ - Superior Court - Atlantic County                      ATL-L-003316-21   WEITZ & LUXENBERG
BURKHALTER, KARLA                                       NJ - USDC for the District of New Jersey                   3:21-cv-18505     WEITZ & LUXENBERG
BURKHART, NELL                                          NJ - USDC for the District of New Jersey                   3:21-cv-18982     WEITZ & LUXENBERG
CAPEHART, ALMEATHA                                      NJ - USDC for the District of New Jersey                   3:21-cv-18617     WEITZ & LUXENBERG
CARLTON, JACQUELYN                                      NJ - USDC for the District of New Jersey                   3:21-cv-18458     WEITZ & LUXENBERG
COOPER, LAUREN                                          NJ - USDC for the District of New Jersey                   3:21-cv-18507     WEITZ & LUXENBERG
COUCH, SHAILEE                                          NJ - USDC for the District of New Jersey                   3:21-cv-18511     WEITZ & LUXENBERG
DAVIS, DEBRA                                            NJ - Superior Court - Atlantic County                      ATL-L-003312-21   WEITZ & LUXENBERG
DAVIS, GENEVA                                           NJ - USDC for the District of New Jersey                   3:21-cv-18291     WEITZ & LUXENBERG
DAVIS, ROBIN                                            NJ - Superior Court - Atlantic County                      ATL-L-003334-21   WEITZ & LUXENBERG
DITTMAR, JO-ANN                                         NJ - USDC for the District of New Jersey                   3:21-cv-18627     WEITZ & LUXENBERG
DUCRE, DORIS                                            NJ - USDC for the District of New Jersey                   3:21-cv-18063     WEITZ & LUXENBERG
DURAN, SUSAN                                            NJ - USDC for the District of New Jersey                   3:21-cv-18302     WEITZ & LUXENBERG
EATON, MELISSA                                          NJ - USDC for the District of New Jersey                   3:21-cv-18068     WEITZ & LUXENBERG
EDGEWORTH, SALOME                                       NJ - USDC for the District of New Jersey                   3:21-cv-18069     WEITZ & LUXENBERG
EDWARDS, TANTRELL                                       NJ - USDC for the District of New Jersey                   3:21-cv-18460     WEITZ & LUXENBERG
EL-SHABAZZ, QAMARRAH                                    NJ - USDC for the District of New Jersey                   3:21-cv-18299     WEITZ & LUXENBERG
EVANS, JODI                                             NJ - USDC for the District of New Jersey                   3:21-cv-18503     WEITZ & LUXENBERG
FRELIGH, AMY                                            NJ - USDC for the District of New Jersey                   3:21-cv-18287     WEITZ & LUXENBERG
GLAZE, PATRICIA                                         NJ - USDC for the District of New Jersey                   3:21-cv-18459     WEITZ & LUXENBERG
GREEN, LISA                                             NJ - USDC for the District of New Jersey                   3:21-cv-18457     WEITZ & LUXENBERG
HERNANDEZ, DEBORAH                                      NJ - USDC for the District of New Jersey                   3:21-cv-18502     WEITZ & LUXENBERG
HIGHMAN, AMANDA                                         NJ - USDC for the District of New Jersey                   3:21-cv-18499     WEITZ & LUXENBERG
HOWE, AMY                                               NJ - USDC for the District of New Jersey                   3:21-cv-18455     WEITZ & LUXENBERG
JOHNSON, JANET                                          NJ - Superior Court - Atlantic County                      ATL-L-003338-21   WEITZ & LUXENBERG
KINSTLER, JESSICA                                       NJ - USDC for the District of New Jersey                   3:21-cv-18293     WEITZ & LUXENBERG
KORZENICKI, ROBIN                                       NJ - USDC for the District of New Jersey                   3:21-cv-18630     WEITZ & LUXENBERG
LESLEY, NATARSHA                                        NJ - USDC for the District of New Jersey                   3:21-cv-18115     WEITZ & LUXENBERG
LISSIMORE, ANTOINETTE                                   NJ - Superior Court - Atlantic County                      ATL-L-003333-21   WEITZ & LUXENBERG
LOGRIPPO, MARIA                                         NJ - Superior Court - Atlantic County                      ATL-L-003309-21   WEITZ & LUXENBERG
LOUQUE, SHEILA                                          NJ - Superior Court - Atlantic County                      ATL-L-003311-21   WEITZ & LUXENBERG
MAASBERG, ANN                                           NJ - Superior Court - Atlantic County                      ATL-L-003339-21   WEITZ & LUXENBERG
MADDOX, AMBER                                           NJ - USDC for the District of New Jersey                   3:21-cv-18073     WEITZ & LUXENBERG
MAYES, TONI                                             NJ - USDC for the District of New Jersey                   3:21-cv-18633     WEITZ & LUXENBERG
MENEFEE, TEMEKA                                         NJ - Superior Court - Atlantic County                      ATL-L-003335-21   WEITZ & LUXENBERG
MOLINA, YOLANDA                                         NJ - USDC for the District of New Jersey                   3:21-cv-18117     WEITZ & LUXENBERG
MONTIEL, CHRISTINA                                      NJ - USDC for the District of New Jersey                   3:21-cv-18288     WEITZ & LUXENBERG
MURRAY-DAVIES, LINDA                                    NJ - USDC for the District of New Jersey                   3:21-cv-18111     WEITZ & LUXENBERG
PEDRAZA, VERONICA                                       NJ - Superior Court - Atlantic County                      ATL-L-003315-21   WEITZ & LUXENBERG
PENA, REYNA                                             NJ - Superior Court - Atlantic County                      ATL-L-003317-21   WEITZ & LUXENBERG
PENDER-KING, DEBORAH                                    NJ - USDC for the District of New Jersey                   3:21-cv-18983     WEITZ & LUXENBERG
PITTMAN, YVONNE                                         NJ - Superior Court - Atlantic County                      ATL-L-003367-21   WEITZ & LUXENBERG
POORE, LAURA                                            NJ - USDC for the District of New Jersey                   3:21-cv-18109     WEITZ & LUXENBERG
PUTIN, DIANNE                                           NJ - Superior Court - Atlantic County                      ATL-L-003336-21   WEITZ & LUXENBERG
RADTKE, NANCY                                           NJ - Superior Court - Atlantic County                      ATL-L-003310-21   WEITZ & LUXENBERG
ROSENBERG, JUDITH                                       NJ - USDC for the District of New Jersey                   3:21-cv-18065     WEITZ & LUXENBERG
SAMUELSBARIL, DEBORAH                                   NJ - USDC for the District of New Jersey                   3:21-cv-18778     WEITZ & LUXENBERG
SEWELL, LORI                                            NJ - Superior Court - Atlantic County                      ATL-L-003318-21   WEITZ & LUXENBERG
SHED, CYNTHIA                                           NJ - USDC for the District of New Jersey                   3:21-cv-18622     WEITZ & LUXENBERG
SIX, ROBIN                                              NJ - Superior Court - Atlantic County                      ATL-L-003314-21   WEITZ & LUXENBERG
SMITH, KESHA                                            NJ - USDC for the District of New Jersey                   3:21-cv-18298     WEITZ & LUXENBERG
SOLIVAN, MIRIAM                                         NJ - USDC for the District of New Jersey                   3:21-cv-18510     WEITZ & LUXENBERG
SPRINGER, SUSAN                                         NJ - USDC for the District of New Jersey                   3:21-cv-18513     WEITZ & LUXENBERG
STEINBERG, SANDRA                                       NJ - USDC for the District of New Jersey                   3:21-cv-18515     WEITZ & LUXENBERG
THOMAS, CECELIA                                         NJ - USDC for the District of New Jersey                   3:21-cv-18980     WEITZ & LUXENBERG
VARGA, BRANDY                                           NJ - Superior Court - Atlantic County                      ATL-L-003337-21   WEITZ & LUXENBERG




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                   Claimant Name                                                 State Filed                         Docket Number                        Plaintiff Counsel
VICTORIA, ISELA                                         NJ - USDC for the District of New Jersey                   3:21-cv-18517     WEITZ & LUXENBERG
VINK, KIMBERLY                                          NJ - USDC for the District of New Jersey                   3:21-cv-18071     WEITZ & LUXENBERG
VONOESEN, MARCELLA                                      NJ - USDC for the District of New Jersey                   3:21-cv-18072     WEITZ & LUXENBERG
WALKER, ANGELA                                          NJ - Superior Court - Atlantic County                      ATL-L-003313-21   WEITZ & LUXENBERG
WALKER, RENEYA                                          NJ - USDC for the District of New Jersey                   3:21-cv-18628     WEITZ & LUXENBERG
WALTERS, CHARLOTTE                                      NJ - USDC for the District of New Jersey                   3:21-cv-18456     WEITZ & LUXENBERG
DEPALMA, LISA                                           NJ - Superior Court - Atlantic County                      ATL-L-003350-21   WILENTZ, GOLDMAN, & SPITZER, P.A.
TOCCI, ARLENE                                           NJ - Superior Court - Atlantic County                      ATL-L-003352-21   WILENTZ, GOLDMAN, & SPITZER, P.A.
WILLIAMS, KIRK                                          NJ - USDC for the District of New Jersey                   3:20-cv-20423     WILLIAMS, KIRK (879031) (PRO PER)




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